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                                             U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007

                                                      April 19, 2021

BY ECF
The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

        Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government writes with respect to the Court’s Order dated April 19, 2021, which

directed the Government to notify the Court by tomorrow whether it intends to “use any of the

documents subject to the pending motions to suppress in the trial of the non-perjury counts in this

case.” (Dkt. No. 216). The Government respectfully requests that the Court grant the Government

until Thursday, April 22, 2021, to submit its response.

        The Government is carefully considering the Court’s Order, and has begun reviewing its

file, considering legal issues, and having internal conversations with supervisors in order to

thoughtfully and accurately respond to the Court. In particular, although the materials at issue are

not likely to be central to the Government’s case in chief in the trial of the non-perjury counts, the

Government nonetheless recognizes the importance of anticipating how these materials may be

relevant to (and used at) the trial. For example, and among other considerations, the materials

include transcripts of depositions of witnesses who may testify at trial, and the Government is

mindful of potential uses of such material that might arise during the cross-examination of both

Government and defense witnesses whose prior statements are encompassed within the materials

at issue.
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       The Government appreciates the need to resolve this scheduling matter quickly. However,

with the goal of being able to most accurately address the Court’s question, the Government

respectfully requests that the Court grant the Government until Thursday, April 22, 2021 to submit

its response.

                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   United States Attorney

                                             By:       /s
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Cc: All Counsel of Record (By ECF)
